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          EXHIBIT F




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      GROUP


                                             April 24, 2023
 Via: Electronic-Mail and U.S. Mail

 Filipp Petkevitch, Attorney
 Buzko Brasnov
 228 Park Ave. S. #85451
 New York, NY 10003-1502
 filipp.petkevitch@buzko.legal

         Re:     Bockguarry Corp. v. Litchain Corp, et seq.
                 Civil Action No. 7:23-cv-01427-TMC
                 PF File No. 00269.000005

 Dear Mr. Petkevitch,

         Our firm represents Gaffney Board of Public Works ("Gaffney BPW"). Gaffney BPW
 forwarded us a copy of your letter dated April 21, 2023. Please accept this letter as the response
 of Gaffney BPW to your demand for the return of ASIC machines located at 150 Hyatt Street,
 Gaffney, South Carolina 29341 by April 27, 2023. The requested property is the subject of a
 lawsuit filed by Blockquarry Corporation ("Blockquarry") against Gaffney BPW and Litchain
 Corporation ("Litchain") on April 7, 2023. A copy of the Complaint for Declaratory Judgment,
 Injunction, and Damages is enclosed for your reference. Please note that 150 Hyatt Street is
 misidentified in the Complaint as 154 Hyatt Street, but the premises is the same. This Complaint
 includes a demand for the return of certain deposit funds related to electric utility services, certain
 real property improvements to the premises, and certain personal property stored on the premises,
 including all servers.

         At the time Blockquarry filed its Complaint, it also filed a Motion for Temporary
 Restraining Order and Preliminary Injunction. On April 12, 2023, the Court denied Blockquarry's
 motion for temporary restraining order and reserved ruling on Blockquarry's motion for
 preliminary injunction until all parties had been served and given the opportunity to respond. The
 April 12 order included the following instructions, "[t]he court admonishes all litigants that any
 party that engages in spoliation of evidence or waste of the personal property at issue in this action,
 or otherwise dissipates such personal property, tangible or intangible, pending an order of this
 court does so at its own peril, and the court reserves the right to sanction any such conduct." The
 ASIC machines referenced in your letter fall within the scope of this order and cannot be released
 to anyone, including your client, in the absence of a court order. Until such an order has been
 received, all equipment left at 150 Hyatt Street will remain securely locked onsite.




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         Despite the allegations contained in your letter, Gaffney BPW is not holding the ASIC
 machines as collateral or otherwise attempting to assert a right of ownership over them. Instead,
 they are the subject of an ongoing federal lawsuit and cannot be released to anyone in the absence
 of a court order. Once Gaffney BPW receives instructions from the Court as to the proper manner
 in which to disburse the equipment remaining onsite at 150 Hyatt Street, it will promptly comply
 with that order.

        Thank you for your understanding in this matter. We welcome any action for you to
 intervene on behalf of your client as necessary to have their stated interest in the servers protected
 by the Court.

                                                Sincerely,


                                                 �rp-�
                                               Virginia P. Bozeman

 Enclosures




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